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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

SOUTHERN FARM BUREAU LIFE
INSURANCE COMPANY                                                                    PLAINTIFF

v.                              CASE NO. 4:21-CV-00219 BSM

TJ JEFFERS AND EMILY SANDERLIN                                                   DEFENDANTS

                                   INITIAL SCHEDULING ORDER

An appearance entered by defendant(s) in this case on June 11, 2021.

IT IS HEREBY ORDERED that the following deadlines and proposals are in effect:

        1.   RULE 26(f) CONFERENCE DEADLINE:                   August 19, 2021

The parties are jointly responsible for holding their Rule 26(f) conference on or before the date specified.

        2.   RULE 26(f) REPORT DUE DATE:                       September 1, 2021

Consult FRCP 26(f) and Local Rule 26.1 for information to be included in the Rule 26(f) Report. The
Report should be filed with the Clerk of the Court.

        3.   PROPOSED TRIAL DATE:                              November 28, 2022

The case will be scheduled for BENCH TRIAL before Judge Brian S. Miller commencing at 9:30 a.m.
sometime during the week as set forth above in Courtroom #2D, Richard Sheppard Arnold United States
Courthouse, 500 West Capitol, Little Rock, Arkansas 72201.

        4. RULE 16(b) CONFERENCE:                              Will be scheduled, if necessary.

A telephone conference will be scheduled within one week of the filing of the Rule 26(f) Report, if
necessary as determined by the Court, to resolve any conflicts among the parties with the proposed trial
date and deadlines, mandatory disclosures, etc. If the parties can agree on all issues in the Rule 26(f)
Report and the trial date proposed by the Court, then the telephone conference will be unnecessary.

DATED: June 18, 2021

                                                      AT THE DIRECTION OF THE COURT
                                                      JAMES W. McCORMACK, CLERK

                                                             By: Laura Bichlmeier
                                                                 Deputy Clerk
                                                                 501-604-5404
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                             IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

SOUTHERN FARM BUREAU LIFE
INSURANCE COMPANY                                                                              PLAINTIFF

v.                               CASE NO. 4:21-CV-00219 BSM

TJ JEFFERS AND EMILY SANDERLIN                                                             DEFENDANTS

                             PROPOSED FINAL SCHEDULING ORDER

       Pursuant to Rule 16(e) of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

1.     TRIAL DATE

This case is scheduled for a BENCH TRIAL before Judge Brian S. Miller commencing at 9:30 a.m.
sometime during the week of November 28, 2022, in Courtroom #2D, Richard Sheppard Arnold United
States Courthouse, 500 West Capitol, Little Rock, Arkansas 72201. If counsel wish to bring electronic
devices to the courthouse for any proceeding, please note General Order No. 54.

2.     DISCOVERY

Discovery should be completed no later than July 6, 2022. The parties may conduct discovery beyond
this date if all parties are in agreement to do so; but the Court will not resolve any disputes in the course
of this extended discovery. All discovery requests and motions must be filed sufficiently in advance of
that date to allow for a timely response. Witnesses and exhibits not identified in response to appropriate
discovery may not be used at trial except in extraordinary circumstances. The Court will not grant a
continuance because a party does not have time in which to depose a witness, expert or otherwise.

A discovery motion must not be filed until counsel has made a good faith effort to resolve the discovery
dispute. Upon the filing of such motion, a response should be filed promptly. A conference call will be
scheduled to resolve such matters if the Court deems it necessary.

3.     ADDITION OF PARTIES/AMENDMENT OF PLEADINGS

Leave to add parties or amend pleadings must be sought no later than June 6, 2022.

4.     STATUS REPORT

A status report must be filed with the Clerk’s office on or before August 1, 2022. The report must include
the date and results of any settlement conference, the settlement prospects, and an estimate of the length
of trial.

5.     MOTION DEADLINE

All motions, except motions in limine, must be filed on or before August 1, 2022. Motions for summary
judgment must comply with Fed. R. Civ. P. 56 and Local Rules 7.2 and 56.1. In addition, parties are
directed to submit a courtesy copy of the motion for summary judgment, responses, replies, and supporting
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briefs and exhibits to chamber. Motions in limine must be filed on or before November 18, 2022, and
responses must be filed five (5) calendar days thereafter. Motions submitted after the deadline may be
denied solely on that ground.

Local Rule 7.2(b) provides: “Within fourteen (14) days from the date copies of a motion and supporting
papers have been served upon him, any party opposing a motion shall serve and file with the Clerk a
concise statement in opposition to the motion with supporting authorities. A party moving for summary
judgment will have seven (7) days to file a reply in further support of the motion.” The Court may or may
not wait on the filing of a reply before ruling on the motion. No surresponse or surreply will be permitted.

6.     FORMAT OF SUMMARY JUDGMENT STATEMENT OF FACTS

In opposing a motion for summary judgment, the non-moving party shall format his or her statement of
disputed (and undisputed) material facts pursuant to Local Rule 56.1. The non-moving/opposing party
shall respond paragraph by paragraph to the statement of undisputed material facts submitted by the
moving party. The responsive portion of the non-moving opposing party's statement shall repeat the
statement verbatim as set forth in the moving party's statement and respond to it by admitting the statement
or pointing out that portion of the statement, if any, he or she disputes. The non-moving/opposing party
will state with particularity that portion of the allegation denied, citing to any evidentiary support for the
denial. For example:

Moving Party:         1. Plaintiff began working for Defendant Employer on March 1, 2016.
Response:     1. Plaintiff admits that Plaintiff began working for Defendant Employer on March 1, 2016.

7.     PRETRIAL DISCLOSURE SHEET [FED.R.CIV.P. 26(a)(3)]

Pretrial disclosure sheets must be filed simultaneously by the parties according to the outline contained in
Local Rule 26.2 with copies to the Courtroom Deputy, Laura Bichlmeier, and opposing counsel no later
than October 28, 2022. The Court's requirement that witnesses and exhibits must be listed on the pretrial
information sheet does not relieve a party of the obligation to provide the names of witnesses and exhibits
in response to discovery requests.

8.     DEPOSITIONS TO BE USED AT TRIAL OTHER THAN FOR IMPEACHMENT

The proffering party must designate the pertinent portions of a deposition to be used as evidence at trial
by October 28, 2022. Counter-designations must be made by November 8, 2022. Objections to any
deposition or videotapes that will be used at trial must be made by written motion indicating the specific
objection and its legal basis by November 11, 2022, with the response due November 15, 2022.
Depositions to be read at trial must be marked as exhibits.

9.     TRIAL BRIEF AND PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

The parties must simultaneously submit trial briefs and proposed findings of fact and conclusions of law
on or before November 7, 2022. The briefs should discuss any evidentiary issues that are expected to
arise and other issues that the Court may need to decide at trial. Reply briefs, if any, must be submitted
to the Court on or before November 14, 2022. A reply should specify those fact findings proposed by the
opposing party that will be controverted at trial.

10.    STIPULATIONS

The parties should stipulate in writing to the facts not in controversy on or before November 23, 2022.
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11.    INTRODUCTION OF EXHIBITS

All exhibits must be listed on the enclosed form in numerical sequence. Exhibits must be made available
to all parties and reviewed by counsel prior to the trial date. The lists must be submitted to the Courtroom
Deputy 30 minutes prior to trial, with notations made on the Court’s copy noting exhibits to which there
is an objection. The Court will receive all stipulated exhibits at the beginning of the trial.

12.    CONFLICTS OF INTEREST

Counsel must promptly check the Court’s list of financial interests on file in the U.S. District Clerk’s
Office to determine whether there is any conflict that might require recusal. If any party is a subsidiary
or affiliate of any company in which the Court has a financial interest, bring that fact to the Court’s
attention immediately.

Please communicate with Laura Bichlmeier, Courtroom Deputy, at 501-604-5404, or
laura_bichlmeier@ared.uscourts.gov, to ascertain your position on the calendar as the trial date
approaches. In the event of settlement, advise Mrs. Bichlmeier immediately. The case will not be
removed from the trial docket until an order of dismissal has been entered.

Dated June 18, 2021

                                                     AT THE DIRECTION OF THE COURT
                                                     JAMES W. McCORMACK, CLERK

                                                     By: Laura Bichlmeier
                                                         Courtroom Deputy
